                                Case 23-11161-JKS                 Doc 383   Filed 11/06/23         Page 1 of 8




                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

            In re:
                                                                             Chapter 11
                                                              1
            Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On November 1, 2023, at my direction and under my supervision, employees of Stretto
           caused the following document to be served via first-class mail on the service list attached hereto
           as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                     Debtors’ Omnibus Motion for Entry of an Order (A) Authorizing the Debtors to
                      Reject Certain Executory Contracts, Effective as of October 31, 2023, and (B)
                      Granting Related Relief (Docket No. 368)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           document via electronic service.


           Dated: November 6, 2023                                                    _____________________________
                                                                                             Andrew K. Fitzpatrick
           State of Colorado                )
                                            ) SS.
           County of Denver                 )

           Subscribed and sworn before me this 6th day of November 2023 by Andrew K. Fitzpatrick.


           _____________________________
              (Notary’s official signature)




           ______________________________________________
           1
             The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                                                                    Page 1 of 8
                            Case 23-11161-JKS   Doc 383   Filed 11/06/23   Page 2 of 8




                                                Exhibit A




Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                    Page 2 of 8
                                                                   Case 23-11161-JKS                  Doc 383           Filed 11/06/23         Page 3 of 8
                                                                                                            Exhibit A
                                                                                                      Served via First-Class Mail


                                Name                                            Attention                            Address 1                           Address 2                City   State       Zip        Country
                                                                                                       222 W Las Colinas Boulevard – Urban
  AGILE THOUGHT LLC                                                                                    Towers Suite 1650 E                                               Irving          TX      75039
  Agile Thought LLC                                                                                    222 West Las Colinas Boulevard                                    Irving          CA      75039
                                                                    c/o Jeremy William Ryan, Potter
  Agile Thought LLC                                                 Anderson & Corroon                 1313 N. Market St, 6th Flr                                        Wilmington      DE      19801
  Anchorage Digital Bank N.A                                                                           101 S. Reid Street                    Suite 329                   Sioux Falls     SD      57103
  Anchorage Digital Bank N.A.                                                                          221 Pine St, Ste 600                                              San Francisco   CA      94104
  APIHUB, Inc. dba Clearbit                                                                            548 Market Street, Suite 95879                                    San Francisco   CA      94104
  AU10TIX Limited                                                   Attn: Ron Atzmon                   32 Spyrou Kyprianou Ave., 2nd Floor                               Nicosia                 CY-1075      Cyprus
  AU10TIX Limited                                                   Attn: Ron Atzmon                   5B Hanagar, Hod Hasharon St.                                                                           Israel
  Blockdaemon Ltd                                                                                      10 Inge Lehmanns Gade                                             Aarhus                  8000         Denmark
  Blockdaemon Ltd                                                                                      11400 West Olympic Blvd, Ste 200                                  Los Angeles     CA      90065
  Calm                                                                                                 77 Geary Street, 3rd Floor                                        San Francisco   CA      94108
  Castellum.AI Corporation                                                                             99 Wall Street, Suite 1377                                        New York        NY      10005
  Chainalysis                                                                                          114 5th Ave, 18 Flr                                               New York        NY      10011
  Chainalysis                                                                                          228 Park Ave                          S 23474                     New York        NY      10003
  Cox Business                                                                                         PO Box 53262                                                      Phoenix         AZ      85072-3262
  Datadog, Inc.                                                     Attn: Andrew Baldwin               620 8th Avenue, 45th Floor                                        New York        NY      10018-1741
  Equity Trust Company                                                                                 PO Box 451219                                                     Westlake        OH      44145
  Equity Trust Company                                              Attn: Legal Department             1 Equity Way                                                      Westlake        OH      44145-1050
                                                                    Attn: Legal Department and
  Equity Trust Company                                              Matthew Gardner                    3 Equity Way                                                      Westlake        OH      44145-1052
  Finovation Systems LLC                                            Kurt Rupert                        201 Robert S. Kerr                                                Oklahoma City   OK      73102
  Finovation Systems, LLC                                                                              3455 Peachtree Road NE, 5th floor                                 Atlanta         GA      30326
  Fold, Inc.                                                                                           55 E 3rd Ave                                                      San Mateo       CA      94401
                                                                                                       11201 North Tatum Blvd, Suite 300,
  Fold, Inc.                                                        Attn: Will Reeves                  #42035                                                            Phoenix         AZ      85028
  Fold, Inc.                                                        Courtney Rogers Perrin, Esq.       150 3rd Ave. South, Suite 1900                                    Nashville       TN      37201
  Forter                                                                                               12 E 49th St                                                      New York        NY      10017
  Forter                                                                                               575 Fifth Avenue                                                  New York        NY      10017
  Innovest Systems LLC                                                                                 4 Times Square                                                    New York        NY      10036
  Innovest Systems LLC                                                                                 PO Box 411061                                                     Boston          MA      02241-1061
  Internal Revenue Service                                                                             PO Box 7346                                                       Philadelphia    PA      19101-7346
  LEXISNEXIS RISK SOLUTIONS                                                                            28330 Network Place                                               Chicago         IL      60673-1283
  LinkedIn Corporation                                                                                 62228 Collections Center Drive                                    Chicago         IL      60693
  LinkedIn Corporation                                              Attn: Paul Timko and Katie Lock    1000 W. Maude Avenue                                              Sunnyvale       CA      94085
  Lumen (CenturyLink Communications)                                                                   PO Box 4918                                                       Monroe          LA      71211-4918
  Office of the Attorney General for the District of Columbia                                          441 4Th St Nw, Ste 1100S                                          Washington      DC      20001
  Office of the Attorney General for the District of Puerto Rico                                       350 Carlos Chardón Street             Torre Chardón, Suite 1201   San Juan        PR      00918      Puerto Rico
  Office of the Attorney General for the State of Alabama                                              501 Washington Ave                                                Montgomery      AL      36104
  Office of the Attorney General for the State of Alaska                                               1031 W 4th Ave, Ste 200                                           Anchorage       AK      99501
  Office of the Attorney General for the State of Arizona                                              2005 N Central Ave                                                Phoenix         AZ      85004
  Office of the Attorney General for the State of Arkansas                                             323 Center St, Ste 200                                            Little Rock     AR      72201
  Office of the Attorney General for the State of California                                           PO Box 944255                                                     Sacramento      CA      94244-2550
  Office of the Attorney General for the State of Colorado                                             Ralph L. Carr Judicial Building       1300 Broadway, 10Th Fl      Denver          CO      80203
  Office of the Attorney General for the State of Connecticut                                          165 Capitol Ave                                                   Hartford        CT      06106
  Office of the Attorney General for the State of Florida                                              The Capitol Pl-01                                                 Tallahassee     FL      32399
  Office of the Attorney General for the State of Georgia                                              40 Capitol Sq Sw                                                  Atlanta         GA      30334
  Office of the Attorney General for the State of Hawaii                                               425 Queen Street                                                  Honolulu        HI      96813
  Office of the Attorney General for the State of Idaho                                                700 W. Jefferson St, Suite 210                                    Boise           ID      83720
  Office of the Attorney General for the State of Illinois                                             James R. Thompson Center              100 W. Randolph St          Chicago         IL      62706

In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                                                          Page 1 of 2

 Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                                                                                                                                        Page 3 of 8
                                                                   Case 23-11161-JKS                  Doc 383           Filed 11/06/23            Page 4 of 8
                                                                                                            Exhibit A
                                                                                                      Served via First-Class Mail


                                Name                                            Attention                              Address 1                          Address 2                     City       State     Zip       Country
  Office of the Attorney General for the State of Indiana                                              Indiana Government Center South          302 W Washington St 5Th Fl       Indianapolis     IN     46204
  Office of the Attorney General for the State of Iowa                                                 Hoover State Office Building             1305 E. Walnut Street Rm 109     Des Moines       IA     50319
  Office of the Attorney General for the State of Kansas                                               120 SW 10Th Ave, 2nd Fl                                                   Topeka           KS     66612
  Office of the Attorney General for the State of Kentucky                                             Capitol Building                         700 Capitol Ave Ste 118          Frankfort        KY     40601
  Office of the Attorney General for the State of Louisiana                                            1885 N. Third St                                                          Baton Rouge      LA     70802
  Office of the Attorney General for the State of Maine                                                6 State House Station                                                     Augusta          ME     04333
  Office of the Attorney General for the State of Maryland                                             200 St. Paul Pl                                                           Baltimore        MD     21202
  Office of the Attorney General for the State of Massachusetts                                        1 Ashburton Place, 20Th Floor                                             Boston           MA     02108
  Office of the Attorney General for the State of Michigan                                             G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                  Lansing          MI     48909
  Office of the Attorney General for the State of Minnesota                                            445 Minnesota St, Ste 1400                                                St. Paul         MN     55101
  Office of the Attorney General for the State of Mississippi                                          Walter Sillers Building                  550 High St Ste 1200             Jackson          MS     39201
  Office of the Attorney General for the State of Missouri                                             Supreme Court Building                   207 W High St                    Jefferson City   MO     65101
  Office of the Attorney General for the State of Montana                                              215 N. Sanders                           Justice Building, Third Fl       Helena           MT     59601
  Office of the Attorney General for the State of Nebraska                                             2115 State Capitol                                                        Lincoln          NE     68509
  Office of the Attorney General for the State of Nevada                                               Old Supreme Court Building               100 N Carson St                  Carson City      NV     89701
  Office of the Attorney General for the State of New Hampshire                                        Nh Department Of Justice                 33 Capitol St.                   Concord          NH     03301
  Office of the Attorney General for the State of New Jersey                                           Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing   Trenton          NJ     08611
  Office of the Attorney General for the State of New Mexico                                           408 Galisteo Street                      Villagra Building                Santa Fe         NM     87501
  Office of the Attorney General for the State of New York                                             The Capitol                              2nd Floor                        Albany           NY     12224
  Office of the Attorney General for the State of North Carolina                                       114 W Edenton St                                                          Raleigh          NC     27603
  Office of the Attorney General for the State of North Dakota                                         State Capitol, 600 E Boulevard Ave       Dept. 125                        Bismarck         ND     58505
  Office of the Attorney General for the State of Ohio                                                 State Office Tower                       30 E Broad St 14Th Fl            Columbus         OH     43215
  Office of the Attorney General for the State of Oklahoma                                             313 Ne 21St St                                                            Oklahoma City    OK     73105
  Office of the Attorney General for the State of Oregon                                               1162 Court St NE                                                          Salem            OR     97301
  Office of the Attorney General for the State of Pennsylvania                                         Strawberry Square 16Th Fl                                                 Harrisburg       PA     17120
  Office of the Attorney General for the State of Rhode Island                                         150 S Main St                                                             Providence       RI     02903
  Office of the Attorney General for the State of South Carolina                                       Rembert C. Dennis Bldg                   1000 Assembly St Rm 519          Columbia         SC     29201
  Office of the Attorney General for the State of South Dakota                                         1302 E Highway 14, Ste 1                                                  Pierre           SD     57501
  Office of the Attorney General for the State of Tennessee                                            301 6Th Ave N                                                             Nashville        TN     37243
  Office of the Attorney General for the State of Texas                                                300 W. 15Th St                                                            Austin           TX     78701
  Office of the Attorney General for the State of Utah                                                 Utah State Capitol Complex               350 North State St Ste 230       Salt Lake City   UT     84114
  Office of the Attorney General for the State of Vermont                                              109 State St.                                                             Montpelier       VT     05609
  Office of the Attorney General for the State of Virginia                                             202 N. Ninth St.                                                          Richmond         VA     23219
  Office of the Attorney General for the State of Washington                                           1125 Washington St Se                                                     Olympia          WA     98501
  Office of the Attorney General for the State of Washington                                           PO Box 40100                                                              Olympia          WA     98504
  Office of the Attorney General for the State of West Virginia                                        State Capitol, 1900 Kanawha Blvd E       Building 1 Rm E-26               Charleston       WV     25305
  Office of the Attorney General for the State of Wisconsin                                            17 West Main Street, Room 114 East P                                      Madison          WI     53702
  Office of the Attorney General for the State of Wyoming                                              Kendrick Building                        2320 Capitol Ave                 Cheyenne         WY     82002
  Office of The U.S. Trustee for the District of Delaware           Attn: Linda Casey, Esq.            844 N King St #2207                      Lockbox 35                       Wilmington       DE     19801

  Planful, Inc.                                                     c/o Legal Department               150 Spear Street                         Suite 1850                       San Francisco    CA    94105
  Revenue Pulse Inc                                                                                    2 Gurdwara Road, Suite 200                                                Ottawa           ON    K2E1A2       CA
                                                                    Attn: Andrew Calamari, Regional    New York Regional Office, Brookfield
  Securities And Exchange Commission                                Director                           Place                                    200 Vesey Street, Suite 400      New York         NY    10281-1022
  Securities And Exchange Commission                                Attn: Lara Shalov Mehraban         100 Pearl St                             Suite 20-100                     New York         NY    10004-2616
  Securities And Exchange Commission                                Attn: Secretary of The Treasury    100 F Street, NE                                                          Washington       DC    20549
  Sift                                                              Attn: Eva Gutierrez                525 Market St 6th Fl                                                      San Francisco    CA    94105
  Sovos Compliance LLC                                                                                 200 Ballardvale st                       Building 1, 4th Floor            Wilmington       MA    01887
  Ubiquity Global Services, Inc.                                                                       1140 AVENUE OF THE AMERICAS              FL 1                             NEW YORK         NY    10036-5801
  US Attorney’s Office for the District of Delaware                                                    1313 N Market Street                                                      Wilmington       DE    19801


In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                                                                                   Page 2 of 2

 Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                                                                                                                                               Page 4 of 8
                            Case 23-11161-JKS   Doc 383   Filed 11/06/23   Page 5 of 8




                                                Exhibit B




Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                    Page 5 of 8
                                                  Case 23-11161-JKS          Doc 383       Filed 11/06/23       Page 6 of 8

                                                                                 Exhibit B
                                                                           Served via Electronic Mail

                              Name                                         Attention 1                         Attention 2                                Email
                                                                                                                                         ar@agilethought.com
AGILE THOUGHT LLC                                                                                                                        diana.abril@abrillaw.com
Agile Thought LLC                                                                                                                        ar@agilethought.com
                                                                 c/o Jeremy William Ryan, Potter
AGILE THOUGHT LLC                                                Anderson & Corroon                                                      jryan@potteranderson.com
                                                                 c/o Jeremy William Ryan, Potter
Agile Thought LLC                                                Anderson & Corroon                                                      jryan@potteranderson.com
                                                                 c/o Pashman Stein Walder          Attn: John W. Weiss, William R.       jweiss@pashmanstein.com
Allegheny Casualty Company                                       Hayden, P.C.                      Firth, III                            wfirth@pashmanstein.com
Allsectech, Inc.                                                 Attn: Aviral Dhirendra                                                  aviral198828@gmail.com
Anchorage Digital Bank N.A                                                                                                               matt@anchorage.com
                                                                 c/o Troutman Pepper Hamilton      Attn: David M. Fournier & Evelyn J.   david.fournier@troutman.com
AnchorCoin LLC                                                   Sanders LLP                       Meltzer                               evelyn.meltzer@troutman.com
                                                                                                                                         yossi.lanciano@au10tix.com
AU10TIX Limited                                                  Attn: Ron Atzmon                                                        legal@au10tix.com
Austin Ward                                                                                                                              austindward@proton.me
Blockdaemon Ltd                                                                                                                          jip@sepior.com
Calm                                                                                                                                     nathan.puldy@calm.com
                                                                                                                                         finance@castellum.ai
Castellum.AI Corporation                                                                                                                 contact@castellum.ai
Chainalysis                                                                                                                              matt.giancanelli@chainalysis.com
                                                                 c/o Meyers, Roman, Friedberg &
Coinbits, Inc.                                                   Lewis LPA                      Attn: David M Newumann                   dneumann@meyersroman.com
Datadog, Inc.                                                    Attn: Andrew Baldwin                                                    andrew.baldwin@datadoghq.com
                                                                                                                                         susheelkirpalani@quinnemanuel.com
                                                                                                                                         pattytomasco@quinnemanuel.com
                                                                                                   Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                   Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Quinn Emanuel Urquhart &      Jaquet & Razmig Izakelian & Joanna razmigizakelian@quinnemanuel.com
Ltd., and Bittrex Malta Ltd.                                     Sullivan, LLP                     Caytas                                joannacaytas@quinnemanuel.com
Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings   c/o Young Conaway Stargatt &      Attn: Robert S. Brady & Kenneth J. rbrady@ycst.com
Ltd., and Bittrex Malta Ltd.                                     Taylor, LLP                       Enos                                  kenos@ycst.com
DMG Blockchain Solutions, Inc.                                   Attn: Steven Eliscu                                                     steve@dmgblockchain.com
                                                                                                                                         h.derise@trustetc.com
Equity Trust Company                                             Attn: Legal Department                                                  legal@trustetc.com
                                                                 Attn: Legal Department and                                              legal@trustetc.com
 Equity Trust Company                                            Matthew Gardner                                                         legal@primetrust.com
 Finovation Systems, LLC                                                                                                                 jonathan@jumpstartsecurities.com
 Fold, Inc.                                                      Attn: Will Reeves                                                       will.reeves@foldapp.com
In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                             Page 1 of 3

Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                                                                                               Page 6 of 8
                                                 Case 23-11161-JKS          Doc 383       Filed 11/06/23       Page 7 of 8

                                                                                Exhibit B
                                                                          Served via Electronic Mail

                              Name                                        Attention 1                         Attention 2                               Email
Forter                                                                                                                                 ar@forter.com
                                                                                                                                       akornfeld@pszjlaw.com
                                                                c/o Pachulski Stang Ziehl &       Attn: Alan J. Kornfeld & Jason H.    jrosell@pszjlaw.com
George Georgiades, Kevin Lehtiniitty, and Scott Purcell         Jones LLP                         Rosell & James E. O’Neill            joneill@pszjlaw.com
Innovest Systems LLC                                                                                                                   accounting@innovestsystems.com
                                                                c/o Gellert Scali Busenkell &
Kado Software, Inc.                                             Brown, LLC                        Attn: Michael Van Gorder             mvangorder@gsbblaw.com
Kado Software, Inc.                                             c/o Raines Feldman Littrell LLP   Attn: David S. Forsh                 dforsh@raineslaw.com
LEXISNEXIS RISK SOLUTIONS                                                                                                              lnbilling@lexisnexisrisk.com
Net Cents Technology, Inc.                                      Attn: Clayton Moore                                                    claytonmoore@net-cents.com
Office of the Attorney General for the District of Columbia                                                                            oag@dc.gov
Office of the Attorney General for the State of Alabama                                                                                consumerinterest@Alabamaag.gov
Office of the Attorney General for the State of Alaska                                                                                 attorney.general@alaska.gov
Office of the Attorney General for the State of Arizona                                                                                BCEIntake@azag.gov
Office of the Attorney General for the State of California                                                                             xavier.becerra@doj.ca.gov
Office of the Attorney General for the State of Colorado                                                                               DOR_TAC_Bankruptcy@state.co.us
Office of the Attorney General for the State of Connecticut                                                                            attorney.general@ct.gov
Office of the Attorney General for the State of Hawaii                                                                                 hawaiiag@hawaii.gov
Office of the Attorney General for the State of Illinois                                                                               michelle@lisamadigan.org
Office of the Attorney General for the State of Iowa                                                                                   consumer@ag.iowa.gov
Office of the Attorney General for the State of Kentucky                                                                               KyOAGOR@ky.gov
Office of the Attorney General for the State of Louisiana                                                                              ConstituentServices@ag.louisiana.gov
Office of the Attorney General for the State of Maryland                                                                               oag@oag.state.md.us
Office of the Attorney General for the State of Massachusetts                                                                          ago@state.ma.us
Office of the Attorney General for the State of Michigan                                                                               miag@michigan.gov
Office of the Attorney General for the State of Missouri                                                                               consumer.help@ago.mo.gov
Office of the Attorney General for the State of New Hampshire                                                                          attorneygeneral@doj.nh.gov
Office of the Attorney General for the State of North Dakota                                                                           ndag@nd.gov
Office of the Attorney General for the State of Oklahoma                                                                               questions@oag.ok.gov
Office of the Attorney General for the State of Utah                                                                                   uag@utah.gov
Office of the Attorney General for the State of Vermont                                                                                ago.info@vermont.gov
Office of the Attorney General for the State of West Virginia                                                                          consumer@wvago.gov
                                                                                                                                       rstark@brownrudnick.com
                                                                                                  Attn: Robert J. Stark & Bennett S.   bsilverberg@brownrudnick.com
                                                                                                  Silverberg & Kenneth J. Aulet &      kaulet@brownrudnick.com
Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP             Jennifer M. Schein                   jschein@brownrudnick.com
                                                                                                  Attn: Tristan G. Axelrod & Matthew   taxelrod@brownrudnick.com
Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP             A. Sawyer                            msawyer@brownrudnick.com

In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                          Page 2 of 3

Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                                                                                             Page 7 of 8
                                                    Case 23-11161-JKS     Doc 383       Filed 11/06/23        Page 8 of 8

                                                                              Exhibit B
                                                                        Served via Electronic Mail

                              Name                                        Attention 1                         Attention 2                          Email
                                                              c/o Womble Bond Dickinson (US) Attn: Donald J. Detweiler & Elazar A. don.detweiler@wbd-us.com
Official Committee of Unsecured Creditors                     LLP                             Kosman                               elazar.kosman@wbd-us.com
OKCoin USA Inc. and OKC USA Holding Inc.                      c/o Duane Morris LLP            Attn: Sommer L. Ross                 slross@duanemorris.com
                                                              c/o Buchalter, A Professional
Oracle America, Inc.                                          Corporation                     Attn: Shawn M. Christianson          schristianson@buchalter.com
PC-110374 - Planful, Inc.                                     c/o Legal Department                                                 legal@planful.com
PC-110479                                                     Revenue Pulse Inc                                                    accounting@revenuepulse.com
PC-110853                                                     Finovation Systems LLC                                               krupert@hartzoglaw.com
PC-111038                                                     Fold, Inc.                      Courtney Rogers Perrin, Esq.         crogersperrin@fbtlaw.com
                                                              c/o McElroy, Deutsch, Mulvaney
Philadelphia Indemnity Insurance Company                      & Carpenter, LLP                Attn: Gary D. Bressler               gbressler@mdmc-law.com
Polaris Ventures                                              Attn: Ruairi Donnelly                                                ruairi.donnelly@polaris-ventures.org
                                                              c/o Mintz, Levin, Cohn, Ferris,
Polaris Ventures                                              Glovsky and Popeo, P.C.         Attn: Abigail O’Brient               aobrient@mintz.com
                                                              c/o Mintz, Levin, Cohn, Ferris,
Polaris Ventures                                              Glovsky and Popeo, P.C.         Attn: Joseph R. Dunn                 jrdunn@mintz.com
                                                              c/o Young Conaway Stargatt &    Attn: Michael R. Nestor & Ryan M.    mnestor@ycst.com
Polaris Ventures                                              Taylor, LLP                     Bartley                              rbartley@ycst.com
Securities And Exchange Commission                            Attn: Lara Shalov Mehraban                                           nyrobankruptcy@sec.gov
Sovos Compliance LLC                                                                                                               accounting-us@sovos.com
Stably Corporation                                            Attn: Ivan Inchauste                                                 ivan@stably.io
                                                                                                                                   JWilliamson@gravislaw.com
Stably Corporation                                            c/o Gravis Law, PLLC            Attn: Jill Williamson                MPyfrom@gravislaw.com
                                                                                                                                    JOLeary@gravislaw.com
                                                                                                                                    DCannon@gravislaw.com
                                                                                                                                    MHess@gravislaw.com
Stably Corporation                                            c/o Gravis Law, PLLC              Attn: John W. O'Leary               HHarden@gravislaw.com
Thomas Pageler                                                c/o Clark Hill PLC                Attn: Karen M. Grivner              kgrivner@clarkhill.com
                                                                                                Attn: Tobias S. Keller & Traci L.   tkeller@kbkllp.com
Tiki Labs, Inc. dba Audius Inc.                               c/o Keller Benvenutti Kim LLP     Shafroth                            tshafroth@kbkllp.com
                                                              c/o Pashman Stein Walder
Tiki Labs, Inc. dba Audius Inc.                               Hayden PC                         Attn: John W. Weiss                 jweiss@pashmanstein.com
Ubiquity Global Services, Inc.                                                                                                      kathleen.orido@ubiquity.com
US Attorney’s Office for the District of Delaware                                                                                   usade.press@usdoj.gov
Yousef Abbasi                                                                                                                       Yousef.a.abbasi@gmail.com




In re: Prime Core Technologies Inc., et al.
Case No. 23-11161 (JKS)                                                                                                                                        Page 3 of 3

Document Ref: 47UKI-5POMJ-QEWWE-VYRQH                                                                                                                           Page 8 of 8
